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7                                Exhibits 3-12
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9                                Place Holder
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12                                     UNITED STATES DISTRICT COURT

13                                 NORTHERN DISTRICT OF CALIFORNIA

14                                             SAN JOSE DIVISION

15
     UNITED STATES OF AMERICA,                         ) CASE NO. 18-CR-00258 EJD
16                                                     )
             Plaintiff,                                ) EXHIBITS 3-12: CDs
17                                                     )
        v.                                             )
18                                                     )
                                                       )
19 ELIZABETH HOLMES and RAMESH                         )
   “SUNNY” BALWANI,                                    )
20                                                     )
        Defendants.
21

22                                     MANUAL FILING NOTIFICATION

23 Regarding: EXHIBITS 3-12: CDs

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11 DATED: December 16, 2020                                 Respectfully submitted,

12                                                          DAVID L. ANDERSON
                                                            United States Attorney
13

14
                                                            ___________/S/_____________
15                                                          Vanessa Baehr-Jones
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